Case 2: O2- --Cr 20461- STA Document 53 Filed 08/17/05 Page 1 of 2 Pag e|D 58
FILED IN OPEN COUF\T;

. 8 _
IN THE UNITED STATES DISTRICT COURT DATE°__°°_E'N_'_

FoR THE wEsTERN DISTRICT oF TENNESSEE m 3305 P.’M.
wEsTERN DIvIsION f E__" 6
lNlTiALS:

 

UNITED STATES OE` AMERICA,
Plaintiff,
vs. Cr. No. 02-20461-Ma
Supervised Release

CLOVIS MAXWELL,

Defendant.

 

ORDER GRANTING DEFEN`DANT'S MOTION TO MODIFY CONDITIONS
OF SUPERVISED RELEASE

 

For good Cause shown, the Court hereby GRANTS defendant’s Motion
to Modify Conditions of Supervised Release. lt is HEREBY ORDERED
ends DECREED that ClOViS Maxwell is to be IMMEDIATELY RELEASED
FROM DIERSON CHARITY COMMU'NITY CORRECTIONS CENTER. lt is E`URTHER
ORDERED that Clovis Maxwell continue to follow all remaining

conditions of his supervised release.

IT Is so oRDERED, this the ,./77~§’ day cf @M} , 2005.

Cg /7%¢7/€3/%,,) gaf

JUDGE
UNITED STATES DISTRICT COURT

 

Th'\s document entered on the docket sh et In compli nce
with Rl\!e 55 and/or 32(b) FHCrP on ___(§_'_lié_

   

UNITED sTATE DISTRIC COURT - WESTER D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 53 in
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Honorable S. Anderson
US DISTRICT COURT

